16-35143-cgm       Doc 133    Filed 05/07/19 Entered 05/07/19 17:23:15           Main Document
                                            Pg 1 of 1


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 May 7, 2019                                                                Jordan.Smith@akerman.com


 VIA ECF
 The Honorable Cecelia G. Morris
 Chief Judge
 United States Bankruptcy Court
 Southern District of New York
 355 Main Street
 Poughkeepsie, NY 12601

 Re:      In re: Richard B. Colletti, Debtor, Chapter 13, Case No. 16-35143 (CGM)

 Dear Chief Judge:

 We represent Shellpoint Mortgage Servicing in the above-referenced matter. We write to
 provide the Court a current status report and summary. As discussed at the last hearing on April
 16, 2019, Mr. Colletti has agreed to a confidential settlement with Shellpoint. Mr. Colletti
 executed a settlement and release agreement on April 23, 2019. Shellpoint and Mr. Colletti have
 fully resolved this matter. Counsel for Mr. Colletti advised he will be filing a Rule 9019 motion
 to have the Court approve the loan modification reached with SN Servicing Corporation.

 Thank you.

 Respectfully,
 s/ Jordan M. Smith
 Jordan M. Smith



 cc:      Richard Scott Zirt, Counsel for Debtor (via ECF)
          Jonathan Schwalb, Counsel for SN Servicing Corporation (via ECF)




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